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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )
                                     )                   CRIMINAL ACTION
v.                                   )
                                     )                   No. 12-20066-36-KHV
LUCINDA SCOTT,                       )
                                     )
               Defendant.            )
_____________________________________)

                                              ORDER

       Defendant’s Pro Se Motion For Modification Of Sentence Pursuant To 18 U.S.C. § 3582(c)(2)

(Doc. #1777) filed May 6, 2015 is OVERRULED. On October 21, 2013, the Honorable John W.

Lungstrum sentenced defendant to 120 months in prison.1 Under Amendment 782 and 18 U.S.C.

§ 3582(c), defendant asks the Court to reduce her sentence. Defendant is not entitled to relief under

Amendment 782, because her sentence of 120 months is below the low end of the amended guideline

range (168 months).2 Unless a defendant’s original sentencing range was lowered pursuant to a

government motion to reflect substantial assistance to authorities, the Court may not impose a reduced

sentence below the low end of the amended guideline range. U.S.S.G. § 1B1.10(b)(2)(A); see 18

U.S.C. § 3582(c)(2) (reduction must be consistent with applicable policy statements issued by

Sentencing Commission); see also U.S.S.G. § 1B1.10(a)(3) (proceedings under Section 3582(c)(2) and

policy statement do not constitute full resentencing).



       1
               Based on an offense level 37, criminal history category I, the guideline range was 210
to 262 months in prison. Judge Lungstrum imposed a sentence below the guideline range for various
reasons, including the parties’ agreement and defendant’s health.
       2
               Under the current version of the guidelines, defendant’s total offense level is 35,
criminal history category I, with a guideline range of 168 to 210 months.
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    IT IS SO ORDERED.

    Dated this 11th day of May, 2015 at Kansas City, Kansas.

                                                 s/ Kathryn H. Vratil
                                                 KATHRYN H. VRATIL
                                                 United States District Judge




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